                              Case 23-11687-JKS                      Doc 1        Filed 10/06/23            Page 1 of 24

 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

                                  Delaware
 ____________________ District of _________________
                                        (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                    Check if this is an
                                                                                                                                       amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                               Anzen Soluciones, S.A. de C.V.
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                N /___
                                              ___  A – ___ ___ ___ ___ ___ ___ ___
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                 Mailing address, if different from principal place
                                                                                                          of business

                                          Av. Marina Nacional número 60, piso 3
                                           ______________________________________________                 _______________________________________________
                                              Number        Street                                        Number     Street

                                                  Colonia Tacuba, C.P. 11320
                                              ______________________________________________              _______________________________________________
                                                                                                          P.O. Box

                                                  Ciudad de México México
                                              ______________________________________________              _______________________________________________
                                              City                        State    ZIP Code               City                      State      ZIP Code


                                                                                                          Location of principal assets, if different from
                                                                                                          principal place of business
                                              ______________________________________________
                                              County                                                      _______________________________________________
                                                                                                          Number     Street

                                                                                                          _______________________________________________

                                                                                                          _______________________________________________
                                                                                                          City                      State      ZIP Code




 5.   Debtor’s website (URL)                      www.agilethought.com
                                              ____________________________________________________________________________________________________




Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 1
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Debtor         Anzen Soluciones, S.A. de C.V.
              _______________________________________________________                       Case number (if known)_____________________________________
              Name




 6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              5 ___
                                             ___ 4 ___
                                                    1 ___
                                                       5

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                           Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                            The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                           A plan is being filed with this petition.
                                                           Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                           The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                           The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 2
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Debtor          Anzen Soluciones, S.A. de C.V.
               _______________________________________________________                      Case number (if known)_____________________________________
               Name



 9.   Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes. District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

 10. Are any bankruptcy cases             No
      pending or being filed by a
                                                        See attached schedule
                                          Yes. Debtor _____________________________________________               Affiliates
                                                                                                     Relationship _________________________
      business partner or an
      affiliate of the debtor?                               Delaware
                                                   District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________



 11. Why is the case filed in this       Check all that apply:
      district?
                                          Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                             district.

                                          A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12. Does the debtor own or have          No
      possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard? _____________________________________________________________________

                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).

                                                   Other _______________________________________________________________________________


                                                  Where is the property?_____________________________________________________________________
                                                                            Number          Street

                                                                            ____________________________________________________________________

                                                                            _______________________________________         _______ ________________
                                                                            City                                            State ZIP Code


                                                  Is the property insured?

                                                   No
                                                   Yes. Insurance agency ____________________________________________________________________
                                                           Contact name     ____________________________________________________________________

                                                           Phone            ________________________________




              Statistical and administrative information




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
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Debtor
             Anzen Soluciones, S.A. de C.V.
            _______________________________________________________                            Case number (if known)_____________________________________
            Name




 13. Debtor’s estimation of              Check one:
     available funds                      Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                          1-49                              1,000-5,000                                25,001-50,000
 14. Estimated number of
                                          50-99                             5,001-10,000                               50,001-100,000
     creditors
                                          100-199                           10,001-25,000                              More than 100,000
                                          200-999

                                          $0-$50,000                        $1,000,001-$10 million                     $500,000,001-$1 billion
 15. Estimated assets
                                          $50,001-$100,000                  $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                 $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million               $100,000,001-$500 million                  More than $50 billion

                                          $0-$50,000                        $1,000,001-$10 million                     $500,000,001-$1 billion
 16. Estimated liabilities
                                          $50,001-$100,000                  $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                 $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million               $100,000,001-$500 million                  More than $50 billion


            Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                             petition.
     debtor
                                             I have been authorized to file this petition on behalf of the debtor.

                                             I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.
                                                           10   /6/2023
                                            Executed on _________________
                                                        MM / DD / YYYY


                                          /s/ James S. Feltman
                                             _____________________________________________
                                                                                                         James S. Feltman
                                                                                                         _______________________________________________
                                            Signature of authorized representative of debtor             Printed name

                                                  Chief Restructuring Officer
                                            Title _________________________________________




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 4
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Debtor       Anzen Soluciones, S.A. de C.V.
            _______________________________________________________                     Case number (if known)_____________________________________
            Name




 18. Signature of attorney
                                       /s/ Jeremy W. Ryan
                                          _____________________________________________            Date        10/ 6/2023
                                                                                                              _________________
                                          Signature of attorney for debtor                                    MM    / DD / YYYY



                                          Jeremy W. Ryan
                                         _________________________________________________________________________________________________
                                         Printed name
                                          Potter Anderson & Corroon LLP
                                         _________________________________________________________________________________________________
                                         Firm name
                                         1313        North Market Street, Sixth Floor
                                         _________________________________________________________________________________________________
                                         Number     Street
                                          Wilmington
                                         ____________________________________________________             DE
                                                                                                         ____________  19801
                                                                                                                      ______________________________
                                         City                                                            State        ZIP Code

                                          (302) 984-6000
                                         ____________________________________                             jryan@potteranderson.com
                                                                                                         __________________________________________
                                         Contact phone                                                   Email address



                                          4057
                                         ______________________________________________________  DE
                                                                                                ____________
                                         Bar number                                             State




 Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 5
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                                             Schedule 1

PENDING OR CONCURRENT BANKRUPTCY CASES FILED BY THE DEBTOR AND
                        ITS AFFILIATES

    On the date hereof, each of the affiliated entities listed below (including the debtor in this
chapter 11 case) filed a voluntary petition for relief under title 11 of the United States Code in the
United States Bankruptcy Court for the District of Delaware. A motion is being filed with the
Court requesting that the chapter 11 cases of these entities be jointly administered for procedural
purposes only.

    •    AgileThought, Inc.
    •    AN Global LLC
    •    4th Source Holding Corp
    •    4th Source Mexico, LLC
    •    4th Source, LLC
    •    AgileThought Argentina, S.A.
    •    AgileThought Brasil-Consultoria Em Tecnologia LTDA
    •    AgileThought Brasil Servicos de Consultoria Em Software
    •    AgileThought Costa Rica, S.A.
    •    AgileThought Digital Solutions, S.A.P.I. de C.V.
    •    AgileThought México, S.A. de C.V.
    •    AgileThought, LLC
    •    AgileThought Servicios Administrativos, S.A. de C.V.
    •    AgileThought Servicios Mexico, S.A. de C.V.
    •    AGS Alpama Global Services México, S.A. de C.V.
    •    AGS Alpama Global Services USA, LLC
    •    AN Data Intelligence SA de CV
    •    AN Extend, S.A. de C.V.
    •    AN Evolution S. de R.L. de C.V.
    •    AN USA
    •    AN UX, S.A. de C.V.
    •    Anzen Soluciones, S.A. de C.V.
    •    Cuarto Origen, S. de R.L. de C.V.
    •    Entrepids México, S.A. de C.V.
    •    Entrepids Technology Inc.
    •    Facultas Analytics, S.A.P.I. de C.V.
    •    Faktos Inc, S.A.P.I. de C.V.
    •    IT Global Holding LLC
    •    QMX Investment Holdings USA, Inc.
    •    Tarnow Investment, S.L.
    •    AgileThought, S.A.P.I. de C.V.




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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


  In re                                                        Chapter 11

  ANZEN SOLUCIONES, S.A. DE C.V.,                              Case No. 23-_______ (___)

                    Debtor.                                    (Joint Administration Requested)



                    CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

        Pursuant to Federal Rules of Bankruptcy Procedure 7007.1 and to enable the Judges to
evaluate possible disqualification or recusal, the undersigned authorized officer of the above-
captioned Debtor, certifies that the following is a corporation other than the Debtor, or a
governmental unit, that directly or indirectly owns 10% or more of any class of the corporation’s
equity interests, or states that there are no entities to report under FRBP 7007.1.
______________________________________________________________________________

☐ None [check if applicable]


 Name:             AgileThought México, S.A. de
                   C.V.
 Address:          Av. Real de Lomas No. 1025,
                   interior A, Oficina 3, Colonia
                   Lomas 4A Sección, CP 78216,
                   San Luis Potosí, Mexico




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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


  In re                                                        Chapter 11

  ANZEN SOLUCIONES, S.A, DE C.V.,                              Case No. 23-_______ (___)

                 Debtor.                                       (Joint Administration Requested)



                            LIST OF EQUITY SECURITY HOLDERS

                Pursuant to Federal Rules of Bankruptcy Procedure 1007(a)(1) and 1007(a)(3), the
following persons and entities are equity security holders for Anzen Soluciones, S.A. de C.V., the
Debtor in this case, as of the date hereof:

                                                                               Percentage of Equity
              Member                             Address
                                                                                      Held
                               Av. Sierra Vista 1305, piso 4, int 6, Colonia
 AgileThought Mexico,                                                              92.27841% of
                               Lomas del Tecnológico, CO 78215, San
 S.A. de C.V.                                                                   Capital Series Shares
                               Luis Potosí, San Luis Potosí
                               Av. Sierra Vista 1305, piso 4, int 6, Colonia
 AN Data Intelligence,                                                            0.0000915% of
                               Lomas del Tecnológico, CO 78215, San
 S.A. de C.V.                                                                   Capital Series Shares
                               Luis Potosí, San Luis Potosí
                               Nicolas San Juan
 Alejandro Juárez              No. 308, Interior 602, Coloni Narvarte,             0.741229% of
 Hernández                     Benito Juarez, CP 03020, CDMX                    Capital Series Shares

                               Oriente 140 No. 129,
 Rodolfo San Vicente           Moctezuma, Segunda Sección, Venustiano              1.223485% of
 Atilano                       Carranza, CP 15530, CDMX                         Capital Series Shares


                               Arboledas No. 52, Casa 2,
 Danny Alberto Weber           Colonia Insurgentes Cuicuilco, Coyoacán,            5.755962% of
 Fonseca                       CP 04530, CDMX                                   Capital Series Shares




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                                          Case 23-11687-JKS                    Doc 1          Filed 10/06/23             Page 9 of 24


 Fill in this information to identify the case:
 Debtor name Anzen Soluciones SA de CV
 United States Bankruptcy Court for the: DISTRICT OF DELAWARE                                                                                        Check if this is an

 Case number (if known):                                                                                                                             amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 30 largest unsecured claims.

       Name of creditor and           Name, telephone number and email address of       Nature of claim   Indicate if claim is   Amount of claim
       complete mailing               creditor contact                                  (for example,     contingent,            If the claim is fully unsecured, fill in only unsecured
       address, including zip                                                           trade debts,      unliquidated, or       claim amount. If claim is partially secured, fill in
       code                                                                             bank loans,       disputed               total claim amount and deduction for value of
                                                                                        professional                             collateral or setoff to calculate unsecured claim.
                                                                                        services, and                            Total claim, Deduction          Unsecured claim
                                                                                        government                               if partially     for value of
                                                                                        contracts)                               secured          collateral
                                                                                                                                                  or setoff
  1    Tax Administration             PHONE: (52)-55 627 22 728                         Tax               CONTINGENT                                             $105,000,000.00
       Service (Mexico)                                                                                   UNLIQUIDATED
                                                                                                          DISPUTED

  2    S C PROTECCIÓN Y               EMAIL: facturacion@proteccionyasesoria.com        Legal                                                                          $201,677.00
       ASESORÍA SC                                                                      Services

  3    EXTEND SOLUTIONS               CO Branza                                         Internal                                                                         $64,122.00
       SA DE CV                       EMAIL: cobranza@agilethought.com                  Licenses
                                                                                        (Office)
  4    María Dolores García                                                             Litigation        CONTINGENT                                                     $54,800.00
       Martinez                                                                                           UNLIQUIDATED
                                                                                                          DISPUTED

  5    CONCENTRIX CVG                 Susan Digirolamo                                  Licenses for                                                                     $47,927.00
       LLC                            EMAIL: susan.digirolamo@concentrix.com            Santander

  6    INMOBILIARIA SKY               EMAIL: facturacion@skycapital.mx                  Office                                                                           $47,827.00
       DE YUCATÁN S.A. DE             PHONE: 8132338210                                 Merida


  7    Víctor Alberto                                                                   Litigation        CONTINGENT                                                     $47,130.00
       Santana Delgadillo                                                                                 UNLIQUIDATED
                                                                                                          DISPUTED

  8    Luis Raúl González                                                               Litigation        CONTINGENT                                                     $44,104.00
       Calderón                                                                                           UNLIQUIDATED
                                                                                                          DISPUTED

  9    LATIX NS SA DE CV                                                                                                                                                 $36,622.00

 10 ROEL Y ROEL                       Raquel, Carina, Jorge                             Legal                                                                            $29,102.00
       ABOGADOS SC                    EMAIL: raquel@roelabogados.com                    Services

 11 ICORPTTI SA DE CV                                                                                                                                                    $22,578.00



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                page 1

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 Debtor    Anzen Soluciones SA de CV                                                                         Case number (if known)
           Name

       Name of creditor and           Name, telephone number and email address of       Nature of claim   Indicate if claim is   Amount of claim
       complete mailing               creditor contact                                  (for example,     contingent,            If the claim is fully unsecured, fill in only unsecured
       address, including zip                                                           trade debts,      unliquidated, or       claim amount. If claim is partially secured, fill in
       code                                                                             bank loans,       disputed               total claim amount and deduction for value of
                                                                                        professional                             collateral or setoff to calculate unsecured claim.
                                                                                        services, and                            Total claim, Deduction          Unsecured claim
                                                                                        government                               if partially     for value of
                                                                                        contracts)                               secured          collateral
                                                                                                                                                  or setoff
 12 ATCON                             Montserrat Cruz                                                                                                                    $15,294.00
       ESTRATEGICOS S.A.              EMAIL: montserrat.cruz@atconmx.net
                                      PHONE: 5545055746
       DE C.V.

 13 GOOGLE LLC                                                                          License                                                                            $8,625.00

 14 SERVICIO DE ENLACE                                                                                                                                                     $8,067.00
       PERSONAL

 15 PEGASO PCS SA DE                                                                    License                                                                            $7,343.00
    CV
 16 KC RENTAS S.A DE                  R. Cesareo, R. Mendieta                           Computer                                                                           $7,270.00
    C.V                               EMAIL: rcesareo@kapali.com.mx                     Lease/KC
                                                                                        Rentas

 17 IQ4 S.A. DE C.V.                                                                                                                                                       $7,268.00
 18 INDUSTRIAS                                                                          Furniture                                                                          $5,230.00
       ORDOÑEZ SA DE CV

 19 ERIK NAMUR                        R. Sanchez, J. Carranza, C. Obranza               On Demand                                                                          $4,853.00
       CAMPESINO SC                   EMAIL: facturacion@notaria94.com.mx
                                      PHONE: 5526241840


 20 INMOBILIARIA KAZA                 Rafael Grinberg                                   Loans                                                                              $2,583.00
       PARA TODOS SA DE               EMAIL: rafaelgrinberg@gmail.com




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                page 2

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 Fill in this information to identify the case and this filing:


              Anzen Soluciones, S.A. de C.V.
 Debtor Name __________________________________________________________________
                                                                            Delaware
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


          Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
          Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
          Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
          Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
          Schedule H: Codebtors (Official Form 206H)
          Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
          Amended Schedule ____

          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                                                     Corporate Ownership Statement, List of Equity Holders
          Other document that requires a declaration__________________________________________________________________________________



        I declare under penalty of perjury that the foregoing is true and correct.


                     10/6/2023
        Executed on ______________                          /s/ James S. Feltman
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 James S. Feltman
                                                                ________________________________________________________________________
                                                                Printed name

                                                                Chief Restructuring Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
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